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       IN THE UNITED STATES DISTRICT COURT FOR THE OF MARYLAND
                          (NORTHERN DIVISION)

THANH HAI NGOC TRAN
7322 Florin Wood Drive, Apt. 603
Sacramento, California 95823
                                                             Civil Action No.: 1:24-cv-3741
     Plaintiff,

      v.

THE JOHNS HOPKINS UNIVERSITY
CHARLES & 34th Street
Baltimore, Maryland 21218

Serve: ARTHUR P. PINEAU
       Interim General Counsel
       113 Garland Hall
       3400 North Charles Street
       Baltimore, Maryland 21218

     Defendant.



                                         COMPLAINT

       Plaintiff, Thanh Hai Ngoc Tran (“Plaintiff”) brings this action against Defendant, The Johns

Hopkins University (“JOHNS HOPKINS”), for violations of Plaintiff’s rights under the Fair Labor

Standards Act of 1938 (“FLSA”), 29 U.S.C. §§ 201, et seq.; the Maryland Wage and Hour Law

(“MWHL”), Labor & Empl. Art. §§ 3-415 and 3-427, and the Maryland Wage Payment and

Collection Law (“MWPCL”), Labor & Empl. Art., §§ 3-505 and 3-507.2.
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       In support, Plaintiff alleges as follows:

                                           THE PARTIES

        1.        Plaintiff is an adult resident of California and is a former employee of JOHNS

HOPKINS. She began the relevant period of her employment as a Research Program Assistant II

in Johns Hopkins Molecular Psychiatry Program on March 14, 2024, and was terminated on

October 17, 2024 (the “relevant period”). During the relevant period, Plaintiff regularly worked

more than 40 hours in a single work week. Not only did Defendant fail to pay her an overtime

premium for her overtime hours, but it also paid her nothing at all for those hours, in violation of

JOHNS HOPKINS’ own policies. In addition, JOHNS HOPKINS failed to pay Plaintiff other

promised wages for work she performed, like holiday pay when she worked on holidays, and it

charged her for vacation time when she actually worked on the alleged vacation days.

        2.        JOHNS HOPKINS is a private university. It was Plaintiff’s employer within the

meaning of the FLSA, the MWLH and the MWPCL because, through its agents, managers and

officers, it employed the Plaintiff directly, it hired her, it set her rate of pay, it set the terms and

conditions of her employment, it set her schedule, it directed her in the performance of her work, it

assigned her work, it maintained her employment records, it paid her wages, it hired and fired her,

it directed and encouraged her to work overtime hours without receiving an overtime premium and

it committed the violations that are at issue in this case.

       3.         JOHNS HOPKINS is an “Enterprise Engaged in Commerce” within the meaning of

29 U.S.C. § 203 (s)(1)(B), because it as it is “engaged in the operation of . . . an institution of higher

education.” Id.




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                             SUBJECT MATTER JURISDICTION

       4.      The jurisdiction of this Court is based upon 28 U.S.C. § 1331 and 29 U.S.C. § 217.

This Court has subject matter jurisdiction under 28 U.S.C. § 1331 because Plaintiff’s claims involve

federal questions, and the Court has pendant jurisdiction over the Plaintiff’s state law claims under

28 U.S.C. § 1367.

                                  PERSONAL JURISIDICTION

       5.      This Court has specific and general personal jurisdiction over JOHNS HOPKINS

under Maryland’s Long Arm Statute, Md. Code Ann., Cts. & Jud. Proc. § 6-103, because,

throughout the relevant period, it was organized under the laws of the State of Maryland, its

headquarters are located in the State of Maryland, it regularly transacted business or performed

work or services in the State of Maryland. See § 6-103 (b)(1). In addition, Plaintiff’s cause of action

arises out of (or relates to) JOHNS HOPKINS’ contacts with the State of Maryland, because, during

the time Plaintiff worked at JOHNS HOPKINS, it violated the FLSA, the MWHL and the MWPCL

by failing to pay Plaintiff an overtime premium for her overtime hours and otherwise failing to pay

her in accordance with its own policies for work performed on holidays and it debited her vacation

leave for days when she actually performed work.

                                    STATEMENT OF FACTS

       8.      Plaintiff began working as a Research Program Assistant II in Johns Hopkins

Molecular Psychiatry Program on March 14, 2024, and she continued to work there until October

17, 2024, when she was terminated. Plaintiff’s position entailed rudimentary laboratory assistant

work, which was not exempt from the requirements of the FLSA or the MWHL. In fact, the only

formal degree requirement for the position was a high school diploma. And, not surprisingly,

JOHNS HOPKINS classified Plaintiff’s position as “Non-Exempt” from the FLSA and the MWHL.




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       9.      During the relevant period and pursuant to JOHNS HOPKINS’ own written policies,

it paid Plaintiff on an hourly basis at the regular rates of $18.52 and $18.65 per hour. JOHNS

HOPKINS’ own policies on overtime (which were in effect during the entire relevant period)

confirm that her overtime pay should be calculated as if she were paid by the hour. For example,

the policy provides that “[o]vertime pay for non-exempt employees will be determined on the basis

of all hours worked.” And, under the policy, the employee’s regular rate is not determined on a

salary basis, but on an hourly basis. The policy states that a non-exempt employee “must be

compensated at their standard rate for all hours worked up to 40 hours per week.” And they must

receive one-and-one-half times that rate for each hour worked over 40 in a single week: “Non-

exempt staff must be compensated at the rate of one-and-one-half times their regular rate, the

amount used to calculate overtime compensation, for each hour worked in excess of 40 hours.”

Finally, “[w]hen a non-exempt employee works in excess of the scheduled work day, additional

time worked is rounded to the nearest quarter hour (15 minute interval)” and “[i]t must be added to

the non-exempt employee's work hours for the day and recorded in the university time entry system

in increments of .25, .50, or .75 of an hour as appropriate.”

       10.     JOHNS HOPKINS also requires non-exempt employees like Plaintiff who work on

holidays to receive, in addition to being paid for the holiday itself, (a) “[p]remium pay of at least

time-and-a half for work performed during a university designated holiday[s] (e.g., Commencement

Day, New Year's, Martin Luther King's Birthday, Memorial Day, Christmas Day)” and (b) a

substitute holiday. When Plaintiff worked on designated holidays, she never received a substitute

holiday nor did she receive premium pay.

       11.     The policy also requires “[m]anagers and supervisors” to “review the time entries of

their non-exempt employees on a weekly basis for accuracy and completeness and for overtime




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hours that might have been worked.” And “the university is required to pay for hours worked when

there is no prior authorization [to work overtime hours] from the supervisor.”

       12.     During her employment with JOHNS HOPKINS, Plaintiff worked the following

number of overtime hours and is entitled to the following damages as a result:

                             Hours
                            Worked Overtime
          Week                Per    Hours    Hourly        Overtime
          Start Week End Week Worked           Rate         Pay Owed
        3/18/2024 3/24/2024    53.88   13.88 $ 18.52        $ 385.68
        3/25/2024 3/31/2024    49.62    9.62 $ 18.52        $ 267.15
         4/1/2024 4/7/2024     53.12   13.12 $ 18.52        $ 364.38
         4/8/2024 4/14/2024    57.55   17.55 $ 18.52        $ 487.54
        4/15/2024 4/21/2024    55.98   15.98 $ 18.52        $ 444.02
        4/22/2024 4/28/2024    50.80   10.80 $ 18.52        $ 300.02
        4/29/2024 5/5/2024     42.63    2.63 $ 18.52        $ 73.15
         5/6/2024 5/12/2024    24.52    0.00 $ 18.52        $      -
        5/13/2024 5/19/2024    53.53   13.53 $ 18.52        $ 375.96
        5/20/2024 5/26/2024    56.53   16.53 $ 18.52        $ 459.30
        5/27/2024 6/2/2024     65.87   25.87 $ 18.52        $ 718.58
         6/3/2024 6/9/2024     58.18   18.18 $ 18.52        $ 505.13
        6/10/2024 6/16/2024    52.73   12.73 $ 18.52        $ 353.73
        6/17/2024 6/23/2024    50.03   10.03 $ 18.52        $ 278.73
        6/24/2024 6/30/2024    72.43   32.43 $ 18.52        $ 901.00
         7/1/2024 7/7/2024     42.08    2.08 $ 18.52        $ 57.88
         7/8/2024 7/14/2024    63.65   23.65 $ 18.52        $ 657.00
        7/15/2024 7/21/2024     59.8    19.8 $ 18.65        $ 553.91
        7/22/2024 7/28/2024    54.48   14.48 $ 18.65        $ 405.17
        7/29/2024 8/4/2024     50.17   10.17 $ 18.65        $ 284.41
         8/5/2024 8/11/2024    59.85   19.85 $ 18.65        $ 555.30
        8/12/2024 8/18/2024    55.57   15.57 $ 18.65        $ 435.48
        8/19/2024 8/25/2024    40.12    0.12 $ 18.65        $     3.26
        8/26/2024 9/1/2024     37.93    0.00 $ 18.65        $      -
                                                            $ 8,866.77

       13.     Yet, JOHNS HOPKINS only paid Plaintiff for 40 hours per week, no matter how

many hours she actually worked. It not only failed to pay Plaintiff an overtime premium for her

overtime hours, but it did not pay her anything at all for any additional hours over 40 which she



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worked in a single work week. Therefore, Defendants violated the FLSA, the MWHL and the

MWPCL.

       14.     JOHNS HOPKINS also had a policy regarding compensation when an employee

performed work on a holiday recognized by JOHNS HOPKINS. The policy provided that “[f]ull

and part-time staff members required to work during a designated holiday receive either normal

pay plus one and one-half times their regular hourly rate for each holiday hour worked or normal

pay plus time off at the rate of one and one-half hours for each holiday hour worked.” Plaintiff

worked several holidays but never received either one-and-one-half times her regular hourly rate

for each designated holiday worked nor did she receive the equivalent amount of time off.

       15.     Plaintiff worked the following holidays on the following dates and is owed the

following damages for her unpaid holiday premiums:

                     Holiday
                    Premium
           Hours      Rate     Amount
 Holiday Worked Owed            Owed
5/27/2024      5.57 $ 27.78    $ 154.73
6/19/2024      3.22 $ 27.78    $ 89.45
 7/4/2024      4.00 $ 27.78    $ 111.12
          Total                $ 355.31

       16.     JOHNS HOPKINS also had a policy on vacation leave which permitted Plaintiff to

earn vacation or paid time off. It also required JOHNS HOPKINS to pay her for any accrued but

unused leave at the time her employment ended. JOHNS HOPKINS violated the policy by debiting

vacation leave on days when Plaintiff actually performed work in violation of the MWPCL and

when Plaintiff’s employment with JOHNS HOPKINS ended, she did not receive an accurate payout

for the vacation leave, since she was not paid for improperly debited leave.




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       17.     Plaintiff is owed the following damages for her accrued but unused leave at the time

her employment ended:

Vacation                           April     May        June      July    August September October
Days Earned During Month             1.25      1.25        1.25      1.25    1.25      1.25    1.25
Balance of Days from Prior Month     6.42      7.67        6.56      7.81    8.06      9.31    4.56
Sub Total                            7.67      8.92        7.81      9.06    9.31     10.56    5.81
Days Used During Month                   0     2.36           0         1       0         6       0
Balance of Days at End of Month      7.67      6.56        7.81      8.06    9.31      4.56    5.81

                                                      PTO Balance at End of Employment (Hours)     46.48
                                                      Hourly Rate                              $ 18.65
                                                      Amount Owed                              $ 866.85

       18.     Plaintiff had two supervisors in her position; Akira Sawa was her second line

supervisor and Atsushi Saito was her first line supervisor. Throughout the relevant period, Mr.

Atsushi was aware that Plaintiff was working overtime hours. In fact, both of them encouraged

Plaintiff to work overtime hours. And Mr. Atsushi and Mr. Akira communicated with Plaintiff

about work after regular work hours, in the evening and on weekends, and the written

communication plainly indicated that Plaintiff was working overtime hours and that Mr. Akira was

aware of it.




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                                              COUNT I
                                     VIOLATIONS OF THE FLSA
                                       29 U.S.C. §§ 201 – 216 (b)

       19.     Plaintiff repeats and incorporates by reference all allegations of fact set forth above.

       20.     At all times relevant to this Complaint JOHNS HOPKINS was Plaintiff’s

“employer” within the meaning of the FLSA.

       21.     At all times relevant to this Complaint, Plaintiff was an “employee” of JOHNS

HOPKINS within the meaning of the FLSA.

       22.     At all times relevant to the Complaint, JOHNS HOPKINS was an enterprise engaged

in commerce within the meaning of the FLSA.

       23.     JOHNS HOPKINS did not act in good faith or with a reasonable belief that its

actions were lawful, entitling Plaintiff to liquidated damages.

       24.     JOHNS HOPKINS violated the FLSA by failing to pay Plaintiff one and one-half

times her regular hourly rate for each hour over 40 that she worked in a work week and in fact failed

to pay her anything at all for her overtime hours.

       25.     JOHNS HOPKINS is liable to Plaintiff under 29 U.S.C. § 216 (b), for her unpaid

and illegally withheld wages in the amount of $8,866.77, an additional equal amount as liquidated

damages ($8,866.77), a total of $17,733.54, and litigation costs and reasonable attorneys’ fees.




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                                         COUNT II
                              VIOLATIONS OF THE MWHL
                         Md. Code Ann., Lab. & Empl. §§ 3-413, 3-420

        26.    Plaintiff repeats and incorporates by reference all allegations of fact set forth above.

        27.    At all times relevant to this Complaint, JOHNS HOPKINS was an “employer” of

the Plaintiff within the meaning of the MWHL.

        28.    At all times relevant to this Complaint, Plaintiff was an “employee” of the JOHNS

HOPKINS within the meaning of the MWHL.

        29.    JOHNS HOPKINS violated the MWHL by failing to pay Plaintiff one and one-half

times her regular hourly rate for each hour over 40 that she worked in a single work week. In fact,

JOHNS HOPKINS paid Plaintiff nothing at all for any hours over 40 that she worked in a particular

work week.

        30.    JOHNS HOPKINS did not act in good faith or with a reasonable belief that its

actions were lawful, entitling Plaintiff to liquidated damages.

        31.    As a result, JOHNS HOPKINS is liable to Plaintiff pursuant to the MWHL for her

unpaid and illegally withheld wages in the amount of $8,866.77, an additional equal amount as

liquidated damages ($8,866.77), a total of $17,733.54, and litigation costs and reasonable attorneys’

fees.




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                                           COUNT III
                                 VIOLATIONS OF THE MWPCL
                           Md. Code Ann., Lab. & Empl. §§ 3-501 – 3-507.2

       32.     Plaintiff repeats and incorporates by reference all allegations set forth above.

       33.     At all times relevant to this Complaint, JOHNS HOPKINS was an “employer” of

the Plaintiff within the meaning of the MWPCL.

       34.     At all times relevant to this Complaint, Plaintiff was an “employee” of the JOHNS

HOPKINS within the meaning of the MWPCL.

       35.     JOHNS HOPKINS knowingly, willfully and intentionally violated Plaintiff’s rights

under the MWPCL by failing to pay Plaintiff her overtime wages and by failing to pay her anything

at all for her work hours above 40 in a single work week. The liability stems from both a promise

to pay the overtime based on JOHNS HOPKINS’ own policies and/or based on its obligations under

the MWHL. Plaintiff is owed $8,866.77 for her unpaid overtime wages.

       36.     JOHNS HOPKINS also violated the MWPCL by failing to pay Plaintiff – in addition

to the amount of pay she received for the holiday itself even if she did not perform work – one-and-

one-half-times her regular hourly rate for work she performed on holidays. Plaintiff is owed

$355.31 in unpaid holiday premiums.

       37.     JOHNS HOPKINS also violated that MWPCL by debiting Plaintiff’s vacation leave

on days when Plaintiff actually performed work and failed to pay out the proper leave balance when

Plaintiff’s employment ended. Plaintiff is owed $866.85 for unpaid vacation leave.

       38.     JOHNS HOPKINS’s unlawful failure or refusal to pay the required wages was not

the result of a bona fide dispute within the meaning of the MWPCL.

       39.     JOHNS HOPKINS is liable to Plaintiff pursuant to the MWPCL for the

aforementioned wages, in the amount of $10,088.93, an additional amount equal to double the




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unpaid wages ($20,177.86), a total of $30,266.78, as liquidated damages and litigation costs and

attorneys’ fees.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests that this Court grant her the following relief:

               a)     enter a judgment against JOHNS HOPKINS and in favor of the Plaintiff in

       the amount of Plaintiff’s unpaid and illegally withheld wages, plus an equivalent amount as

       liquidated damages pursuant to 29 U.S.C. § 216(b);

               b)     enter a judgment against JOHNS HOPKINS and in favor of Plaintiff, based

       on JOHNS HOPKINS’s violations of the MWHL in the amount of Plaintiff’s unpaid and

       illegally withheld wages along with a sum equal to the amount of the unpaid wages as

       liquidated damages;

               c)     enter a judgment against JOHNS HOPKINS and in favor of Plaintiff, based

       on JOHNS HOPKINS’s violations of the MWPCL in the amount of Plaintiff’s unpaid wages

       along with an amount equal to twice the unpaid wages as liquidated damages; and

               d)     award Plaintiff her litigation costs and reasonable attorneys’ fees incurred in

       this action as provided in 29 U.S.C. § 216 (b) and Md. Code Ann., Labor & Empl. §§ 3-427

       (a) and 3-507.2.




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                            Respectfully submitted,

                            /s/Omar Vincent Melehy
                            Omar Vincent Melehy
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